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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Pamela Kathleen Taylor
 Debtor 2                                                                                                  1. There is no presumption of abuse
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Northern District of Indiana                           2. The calculation to determine if a presumption of abuse
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)
                                                                                                           3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                               0.00      $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                               0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                               0.00      $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                            $        0.00
        Ordinary and necessary operating expenses                         -$       0.00
        Net monthly income from a business, profession, or farm $                  0.00 Copy here -> $                  0.00      $
  6. Net income from rental and other real property
                                                                                    Debtor 1
        Gross receipts (before all deductions)                       $               507.00
        Ordinary and necessary operating expenses                    -$                0.00
        Net monthly income from rental or other real                                           Copy
        property                                                     $               507.00 here -> $               507.00        $
                                                                                                       $                0.00      $
  7. Interest, dividends, and royalties




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 Debtor 1     Pamela Kathleen Taylor                                                                   Case number (if known)



                                                                                                   Column A                     Column B
                                                                                                   Debtor 1                     Debtor 2 or
                                                                                                                                non-filing spouse
  8. Unemployment compensation                                                                     $                  0.00      $
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                       $            1,748.00        $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             . Caregiver Homes - grandmother                                                       $              540.00        $
                  See Attached Detail                                                              $                  0.00      $
                  Total amounts from separate pages, if any.                                  +    $              911.00        $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $       3,706.00          +   $                   =   $      3,706.00

                                                                                                                                                Total current monthly
                                                                                                                                                income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                              Copy line 11 here=>            $          3,706.00

              Multiply by 12 (the number of months in a year)                                                                                       x 12
       12b. The result is your annual income for this part of the form                                                                12b. $          44,472.00

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                  IN

       Fill in the number of people in your household.                        3
       Fill in the median family income for your state and size of household.                                                         13.   $         72,826.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Pamela Kathleen Taylor
                Pamela Kathleen Taylor
                Signature of Debtor 1
        Date October 15, 2019
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




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 Debtor 1    Pamela Kathleen Taylor                                                               Case number (if known)




                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 04/01/2019 to 09/30/2019.

Line 6 - Rent and other real property income
Source of Income: 1000 East 49th Avenue - rental
Income/Expense/Net by Month:
                         Date                                           Income                          Expense                Net
 6 Months Ago:                  04/2019                                          $507.00                               $0.00           $507.00
 5 Months Ago:                  05/2019                                          $507.00                               $0.00           $507.00
 4 Months Ago:                  06/2019                                          $507.00                               $0.00           $507.00
 3 Months Ago:                  07/2019                                          $507.00                               $0.00           $507.00
 2 Months Ago:                  08/2019                                          $507.00                               $0.00           $507.00
 Last Month:                    09/2019                                          $507.00                               $0.00           $507.00
                     Average per month:                                          $507.00                               $0.00
                                                                                           Average Monthly NET Income:                 $507.00




Line 9 - Pension and retirement income
Source of Income: husband pension to pay bills
Income by Month:
 6 Months Ago:                                    04/2019                 $1,748.00
 5 Months Ago:                                    05/2019                 $1,748.00
 4 Months Ago:                                    06/2019                 $1,748.00
 3 Months Ago:                                    07/2019                 $1,748.00
 2 Months Ago:                                    08/2019                 $1,748.00
 Last Month:                                      09/2019                 $1,748.00
                                 Average per month:                       $1,748.00




Line 10 - Income from all other sources
Source of Income: Caregiver Homes - grandmother
Income by Month:
 6 Months Ago:                                    04/2019                     $0.00
 5 Months Ago:                                    05/2019                     $0.00
 4 Months Ago:                                    06/2019                     $0.00
 3 Months Ago:                                    07/2019                   $640.00
 2 Months Ago:                                    08/2019                 $1,300.00
 Last Month:                                      09/2019                 $1,300.00
                                 Average per month:                         $540.00




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 Debtor 1    Pamela Kathleen Taylor                                                               Case number (if known)


Line 10 - Income from all other sources
Source of Income: Sister Kimberly -Disability - Rent & uti
Income by Month:
 6 Months Ago:                                    04/2019                   $870.00
 5 Months Ago:                                    05/2019                   $870.00
 4 Months Ago:                                    06/2019                   $870.00
 3 Months Ago:                                    07/2019                   $870.00
 2 Months Ago:                                    08/2019                   $870.00
 Last Month:                                      09/2019                   $870.00
                                 Average per month:                         $870.00




Line 10 - Income from all other sources
Source of Income: Tenant -Josephine (Section -8)
Income by Month:
 6 Months Ago:                                    04/2019                    $41.00
 5 Months Ago:                                    05/2019                    $41.00
 4 Months Ago:                                    06/2019                    $41.00
 3 Months Ago:                                    07/2019                    $41.00
 2 Months Ago:                                    08/2019                    $41.00
 Last Month:                                      09/2019                    $41.00
                                 Average per month:                          $41.00




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